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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )               Case No. 8:05CR212
                                              )
              v.                              )
                                              )        REPORT AND RECOMMENDATION
ALICE BUCKLER,                                )                AND ORDER
                                              )
                      Defendant.              )


       At the conclusion of the hearing on August 8, 2005, on defendant’s Motion to
Suppress (#30), I stated my conclusions on the record and my decision to recommend that
the motion to suppress be denied. In accordance with that announcement,
       IT IS RECOMMENDED to the Honorable Laurie Smith Camp, United States District
Judge, that the Motion to Suppress (#30) be denied in all respects.
       FURTHER, IT IS ORDERED:
       1.     The clerk shall cause an expedited transcript of the hearing to be prepared
and filed.
       2.     Pursuant to NECrimR 57.3, any objection to this Report                       and
Recommendation shall be filed with the Clerk of the Court within ten (10) days after the
transcript is available to counsel. Failure to timely object may constitute a waiver of any
such objection. The brief in support of any objection shall be filed at the time of filing such
objection.   Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       Dated this 8th day of August 2005.

                                              BY THE COURT:


                                              S/ F.A. Gossett
                                              United States Magistrate Judge
